Case 3:22-cv-00479-TSL-MTP            Document 28-4        Filed 09/07/22      Page 1 of 10
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                                   Exhibit "F"
Case 3:22-cv-00479-TSL-MTP              Document 28-4        Filed 09/07/22      Page 2 of 10


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 Case 3:22-cv-00479-TSL-MTP                            Document 28-4                  Filed 09/07/22             Page 3 of 10




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              Case 3:22-cv-00479-TSL-MTP        Document 28-4       Filed 09/07/22     Page 4 of 10



                         Arrest Report                                  Lexington Police Department


                                 ARREST REPORT
Case #

                                     lrARRA.
      INCLUDEIF PHOTOS WERE TAKEN,: inic0301310T .AND„FyjoNcElF,ANy SECURED AT LkiC4TION'A
                      '         OTHER INFORMATION VITAL-TO:REPORT).

 On 04/08/2022 i officer hooker made a traf
                                          fic stop on a white pick u p pulling a trailer The suhject had a
 suspended license the suhject also had m ultiple warrants from the city




                                       ADDITIONAL SHEET ATACHED YES                      •   NO
OFFICER'S SIGNATURE

SUPERVISOR APPOVAL DATE:                       SUPERVISOR DISAPPROVAL DATE:

BY:                                                                                     PAGE # 2
   Case 3:22-cv-00479-TSL-MTP     Document 28-4     Filed 09/07/22    Page 5 of 10




  AFFIDAVIT
                                              Case#   r~l 1i/1-t
                                                               ili
  STATE OF MISSISSIPPI                       Page#
                                            Docket#
   HOLMES COUNTY




       Before me, the undersigned, Municipal Court Clerk of the
  City of Lexington           , Mississippi         Ofc. Hooker
                                            )
  makes affidavit on information and belief that
                     Robert Harris                      on or about
  the 8th day of                April        2022. 7 in the City of
        Lexington      , Mississippi    County aforesaid, did
  willfully, unlawfully, and knowingly and intentionally possess
  a controlled substance to wit: marijuana Less than an ounce
  within the city limits of Lexington.


  Possession of Marijuana{41-29-139(c)
                                     (2)
                                       }




 against the peace and dignity of the state of Mississippi and / or
 said City
                                                  //a/c7

Sworn to and subscribed before me this the                     day




                                  Municipal Judge /
 Case 3:22-cv-00479-TSL-MTP                     Document 28-4         Filed 09/07/22    Page 6 of 10




            HOLMES COUNTY SHERIFF'S DEPARTMENT
                 STATEMENT OF CHARGE (S)


TO:    WARDEN,IHIRCF


NAME:              D       ;          tc:i4         "
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AD RESS:

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           Lt.10       C                                AMOUNT:$

       The above named defendant is being brought to IHTRCF on the charge (s)
mentioned above. You are requested to incarcerate said defendant until he/she shay
either post the required bond set forth above, or until properly given.his liberty Iby
the Holmes County SheriffDepartment.

     This defendant is being brought to your jail for incarceration by the Holmes
       Sherriff Departmentfor
County Sheriffs


This                                 day of                                  ,20



            OFFICER.
             Case 3:22-cv-00479-TSL-MTP         Document 28-4       Filed 09/07/22    Page 7 of 10



                         Arrest Report                                 Lexington Police Department


                                 ARREST REPORT
Case #


  (INCLUDE IF PHOTOS WERE TAKEN, FINGERPRINTS*Ny EVIDENCE IF ANY SECURED AT LOCATION AND ANY
                              OTHER INFORMATION VITAL TO REPORT)



 warrant Inv Henderson asked the subj
 subject and said on the wall The subject went to resisiting and fighting Officers The subject was




                                       ADDITIONAL SHEET ATACHED YES                        NO
OFFICER'S SIGNATURE

SUPERVISOR APPOVAL DATE:                       SUPERVISOR DISAPPROVAL DATE:

BY:                                                                                    PAGE # 2
  Case 3:22-cv-00479-TSL-MTP      Document 28-4    Filed 09/07/22     Page 8 of 10




      AFFIDAVIT
                                               Case# /-1)/1-22
  STATE OF MISSISSIPPI                        Page#
                                             Docket#
      HOLMES COUNTY




       Before me, the undersigned, Municipal Court Clerk of the
   City of Lexington          1 Mississippi 7      Chief Dobbins
  makes affidavit on information and belief that
                    Darious Harris                      on or about
  the 8th        day of         April       7 2022 y in the   City of
        Lexington     9 Mississippi 9 County aforesaid, did
  willfully and unlawfully resist by fighting and pulling away
  and refusing to turn around, which obstructed his lawful
  arrest by Chief Dobbins a law enforcement of     ficer, which
  this incident took place in the City Li mits of Lexington, Ms.

  Resisting Arrest[97-9-73]




 against the peace and dignity of the             ississippi and / or
 said City .



Sworn to and subscribed before me this the                      day

 of                   9




                                  M unicipal Judge / Court Clerk
  Case 3:22-cv-00479-TSL-MTP     Document 28-4    Filed 09/07/22      Page 9 of 10




  AFFIDAVIT                                          k//3-22.
                                             Case#
  STATE OF MISSISSIPPI                      Page#
                                           Docket#
   HOLMES COUNTY




      Before me, the undersigned, Municipal Court Clerk of the
  City of Lexington          7
                               Mississippi 7     Chief Dobbins
  makes affidavit on information and belief that
                   Darious Harris                     on or about
  the 8th       day of         April      7 2022 y in the   City of
       Lexington      Mississippi 9 County aforesaid, did
  Willingly and unlawfully ,with intent to provoke a breach of
  peace, refuse to comply with the com mands of a law
  enforcement of ficerwhad the authority to then and there
  arrest any person for violation of the law, by refusing to
                ficers com mends while in the city Limits of
  com ply with Of
  Lexington .
  Failure to Comply 97-37-7




 against the peace and dignity of-                 "ssippi and / or
 said City .



Sworn to and subscribed before me this the                    day

 of


                                 Municipal!Judge / Court Clerk
  Case 3:22-cv-00479-TSL-MTP     Document 28-4   Filed 09/07/22    Page 10 of 10




  AFFIDAVIT
                                             Case#
  STATE OF MISSISSIPPI                      Page#
                                           Docket#
   HOLMES COUNTY




       Before me, the undersigned, Municipal Court Clerk of the
   City of Lexington           9 Mississippi      Chief Dobbins
  makes affidavit on information and belief that
                     Darious Harris                    on or about
  the 8th         day of         April       2022 , in the City of
         Lexington       Mississippi     County aforesaid, did
  illfully and unlawfully be drunk at Lexington Police Dept, a
  public place, in the presence of two or more persons while
  in the city limits of Lexington,MS.

  Public Drunk(intoxication)[97-29471




 against the peace and dignity of the states ississippi and / or
 said City



Sworn to and subscribed before me this the                   day

   - 6
of 4                         .
                                 Municip4t Judge /990 Clerk
